Case 8:21-cv-01396-CJC-DFM Document 24-1 Filed 01/14/22 Page 1 of 1 Page ID #:66



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   7                       UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9
                                               Case No. 8:21-cv-01396-CJC-DFM
        WYATT A. BURR,
  10
                                               PROPOSED ORDER
  11                   Plaintiff,
  12          v.
  13    FEDCHEX RECOVERY, LLC d/b/a
        FCR COLLECTION SERVICES,
  14
                       Defendant.
  15

  16
             Plaintiff, WYATT A. BURR, by and through his attorneys, Sulaiman Law
  17

  18
       Group, Ltd., having filed with this Court his Motion to Extend Deadline to File

  19   Dismissal Documents and the Court having reviewed same, hereby ORDERED.
  20
             1. Parties shall have until February 14, 2022 to file their dismissal documents.
  21

  22   Dated: _______________
  23

  24                                          /s/__________________________________
                                                                               ______
  25                                                Judge, U.S. District Court
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